                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF IOWA CEDAR
                                   RAPIDS DIVISION

     CHRISTOPHER CHEATHAM, on behalf of
     him-self and all others similarly situated,

     CRST INTERNATIONAL
     HOLDINGS, LLC; CRST
                                                               Case No. 1:24-CV-109
     EXPEDITED, INC, d/b/a
     CRST THE
     TRANSPORTATION
     SOLUTION, INC.;

            Defendants.




       INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFF’S MOTION FOR CIRCULATION
     OF NOTICE PURSUANT TO 29 U.S.C. § 216(B) AND MEMORANDUM OF POINTS AND
                        AUTHORITIES IN SUPPORT THEROF


       Plaintiff CHRISTOPHER CHEATHAM, by and through his attorneys of record, RAFII &

ASSOCIATES, P.C., hereby file this Index of Exhibits in Support of Plaintiff’s Motion for Notice of

Certification of the Collective. Plaintiff bases this upon the papers and pleadings on file in this action.



       Respectfully submitted,

        DATED: February 12, 2025                      RAFII & ASSOCIATES, P.C.


                                                      /s/Rachel Mariner
                                                      Rachel Mariner
                                                      Attorneys for Plaintiff




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                                  INDEX OF EXHIBITS

Exhibit                                        Description
  A         Notice of Pending Collective Action Lawsuit. Under the Fair Labor Standards Act
  B                      Consent to Join Lawsuit Pursuant to 29 U.S.C. § 216(b)
  C                                          Reminder Card
  D        Demand Letter - Representation of Christopher Jeffrey Cheatham dated February 15,
                                                   2024
  E               Declaration of Christopher Jeffrey Cheatham dated February 12, 2025
  F       CRST Commercial Driver’s License Training and Repayment Agreement
  G                              Promissory Note with Demand Feature
  H                                  Wage Deduction Authorization




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                                              CERTIFICATE OF SERVICE



       The undersigned certifies, pursuant to LR 5(a), that a true and correct copy of this document was

served electronically upon all parties to the above cause of action through the Court’s ECF system to each of

the attorneys of record herein at their respective addressees disclosed on the pleadings on February 12, 2025.




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                                                                    By: /s/ Marcus Johnson
                                                                    Marcus Johnson




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